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                              MINUTE ORDER

   CASE NUMBER:         Civ. No. 14-00217 HG-KSC
   CASE NAME:           Cara Barber; Melissa Jones; Melissa
                        Streeter; Katie Eckroth; Bob Barber; Tim
                        Jones; Ryan Eckroth v. Ohana Military
                        Communities, LLC; Forest City Residential
                        Management, Inc.
   ATTY FOR PLA:        Patrick Kyle Smith, Esquire
                        Terrance Revere, Esquire
   ATTYS FOR            Lisa W. Munger, Esquire
   DEFT:                Randall C. Whattoff, Esquire
                        Christine A. Terada, Esquire


        JUDGE:      Helen Gillmor

        DATE:       9/9/2016


        On September 6, 2016, Defendants filed:

        DEFENDANTS OHANA MILITARY COMMUNITIES, LLC AND
        FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S EX PARTE
        MOTION TO SHORTEN TIME AND FILE UNDER SEAL THEIR
        MOTION TO (1) CONTINUE MEDIATION AND/OR (2) UNSEAL
        THE ORDER GRANTING, IN PART, DEFENDANTS’ MOTION
        FOR PRELIMINARY INJUNCTION FOR THE LIMITED PURPOSE
        OF PROVIDING THE ORDER TO THE MEDIATOR.
        (ECF No. 345).

        Defendants’ Motion to Seal (ECF No. 345) is GRANTED.

       Defendants’ Motion to Shorten Time (ECF No. 345) is
  GRANTED.

       Plaintiffs shall file their Response to Defendants’
  Motion to (1) Continue Mediation and/or (2) Unseal the Order
  Granting, In Part, Defendants’ Motion for Preliminary
  Injunction for the Limited Purpose of Providing the Order to
  the Mediator on or before Tuesday, September 13, 2016.

       After receiving the Parties’ filings, the Court will
  notify the attorneys if a hearing is necessary.

        Submitted by: Theresa Lam, Courtroom Manager

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